           Case 1:22-cv-00194-N/A Document 11            Filed 08/05/22      Page 1 of 9




                   UNITED STATES COURT OF INTERNATIONAL TRADE


 NATIONAL HONEY PACKERS &
 DEALERS ASSOCIATION,

           Plaintiff,
                                                    Court No. 22-00194
 v.

 UNITED STATES,

           Defendant.


                                         COMPLAINT

       Plaintiff National Honey Packers & Dealers Association (also known as the “NHPDA,” or

“Plaintiff”), by and through the undersigned counsel, White & Case LLP, alleges and states as

follows:

                        ADMINISTRATIVE DECISION TO BE REVIEWED

1.     Plaintiff contests the final affirmative critical circumstances determination of the majority

of the International Trade Commission (“Commission”) with respect to Vietnam in the less-than-

fair-value investigations of Raw Honey from Argentina, Brazil, India, and Vietnam (Inv. Nos. 731-

TA-1560 and 1564). See Raw Honey from Argentina, Brazil, India, and Vietnam, Inv. Nos. 731-

TA-1560-62 and 1564, USITC Pub. 5327 (May 2022) (Final) (“Pub. 5327”). Notice of the

Commission’s final determination was published in Raw Honey from Argentina, Brazil, India and

Vietnam, 87 Fed. Reg. 33831 (June 3, 2022) (“Raw Honey Final FR Notice”).

                                        JURISDICTION

2.     The Court of International Trade has jurisdiction over this action pursuant to 19 U.S.C.

§ 1516a(a)(2)(B)(i) and 28 U.S.C. § 1581(c).
         Case 1:22-cv-00194-N/A Document 11               Filed 08/05/22     Page 2 of 9




                                  STANDING OF PLAINTIFF

3.     Plaintiff is an association of U.S. importers and packers of merchandise subject to the

antidumping order at issue. Plaintiff participated in the Commission’s injury investigation that

resulted in the contested finding. Plaintiff therefore is an “interested party” within the meaning of

19 U.S.C. § 1677(9)(A) and has standing to bring this action pursuant to 19 U.S.C. § 1516a(d) and

28 U.S.C. § 2631(c).

                               TIMELINESS OF THIS ACTION

4.     The antidumping duty orders resulting from the Commission’s affirmative injury

determination were published in the Federal Register on June 10, 2022. Raw Honey from

Argentina, Brazil, India, and the Socialist Republic of Vietnam: Antidumping Orders, 87 Fed. Reg.

35501 (June 10, 2022) (“Orders”). Plaintiff filed its Summons on July 8, 2022, i.e., within the 30

day time limit specified in 28 U.S.C. § 2636(c) and 19 U.S.C. § 1516a(a)(2)(A). This complaint

is being filed on August 5, 2022, i.e., within 30 days of the filing of the Summons, and thus is

timely under 19 U.S.C. § 1516a(a)(2)(A).

                       PROCEDURAL HISTORY AND BACKGROUND

5.     The Commission instituted the underlying preliminary injury investigation on April 21,

2021, following a petition filed by the American Honey Producers Association (“AHPA”) and

Sioux Honey Association (“SHA”) (collectively, “Petitioners”). Raw Honey Final FR Notice, 87

Fed. Reg. at 33831. Following its affirmative preliminary injury determination and preliminary

affirmative less-than-fair-value findings by the Department of Commerce (“Commerce”), the

Commission scheduled the final injury investigation on December 6, 2021. See Raw Honey From

Argentina, Brazil, India, Ukraine, and Vietnam; Scheduling of the Final Phase of Anti-Dumping

Duty Investigations, 86 Fed. Reg. 70144, 70145 (Dec. 9, 2021).



                                                 2
         Case 1:22-cv-00194-N/A Document 11               Filed 08/05/22     Page 3 of 9




6.     On December 3, 2021, Petitioners submitted to Commerce an allegation of critical

circumstances with respect to imports of subject raw honey from Vietnam. Raw Honey From the

Socialist Republic of Vietnam: Preliminary Affirmative Determination of Critical Circumstances

in the Less-Than-Fair-Value Investigation, 87 Fed. Reg. 2127 (Jan. 13, 2022). Commerce made

an affirmative preliminary critical circumstances finding on December 30, 2021. See id., 87 Fed.

Reg. at 2130. Commerce subsequently made a final affirmative critical circumstances finding on

April 7, 2022.     Raw Honey From the Socialist Republic of Vietnam: Final Affirmative

Determination of Sales at Less Than Fair Value and Final Affirmative Determination of Critical

Circumstances, 87 Fed. Reg. 22184, 22186 (Apr. 14, 2022).

7.     Where Commerce makes an affirmative final determination of critical circumstances, the

statute requires the Commission to make its own critical circumstances determination, and in

particular, consider “whether the imports subject to {Commerce’s} affirmative determination . . .

are likely to undermine seriously the remedial effect of the antidumping duty order to be issued{.}”

19 U.S.C. § 1673d(b)(4)(A)(i). In reaching its determination, “the Commission shall consider,

among other factors it considers to be relevant – (I) the timing and volume of the imports, (II) a

rapid increase in inventories of the imports, and (III) any other circumstances indicating that the

remedial effect of the antidumping order will be seriously undermined.”                 19 U.S.C.

§ 1673d(b)(4)(A)(ii).

8.     During the final injury investigation proceedings, Plaintiff demonstrated, through its pre-

hearing brief, testimony at the Commission’s hearing, and its post-hearing brief, that imports of

subject raw honey from Vietnam did not satisfy these statutory factors. See Pub. 5327 at 43-44;

see also generally, Raw Honey from Argentina, Brazil, India, and Vietnam, Investigation Numbers

731-TA-1560-1562 and 1564 (Final): Post-Hearing Brief, Apr. 19, 2022 at 12-15 (“NHPDA Post-

Hearing Br.”); Raw Honey from Argentina, Brazil, India, and Vietnam, Investigation Numbers
                                                 3
         Case 1:22-cv-00194-N/A Document 11              Filed 08/05/22      Page 4 of 9




731-TA-1560-1562 and 1564 (Final): Pre-Hearing Brief, Apr. 5, 2022, at 84, Appendix A

(“NHPDA Pre-Hearing Br.”).

9.     In particular, Plaintiff cited to the fact that raw honey from Vietnam, unlike honey

produced by the Petitioners, is used in commercial applications by industrial users and therefore

does not compete with domestically-produced honey, and as a result, increased imports of the same

could not “seriously undermine” the remedial effect of the order. See NHPDA Pre-Hearing Br.,

Appendix A at 10-12; NHPDA Post-Hearing Br. at 13.

10.    Likewise, Plaintiff demonstrated that such imports did not “massively increase” because

they reflected seasonal patterns and unprecedented supply chain disruptions, and only accounted

for a small portion of U.S. consumption. NHPDA Pre-Hearing Br., Appendix A at 12-21; NHPDA

Post-Hearing Br. at 12-13.

11.    Plaintiff further provided an analysis of inventories of Vietnamese subject raw honey,

which supported a negative critical circumstances finding. Specifically, such inventories had been

sold off, reflecting high demand for this particular product, and were small in the context of the

broader market for raw honey. NHPDA Pre-Hearing Br., Appendix A at 21-24; NHPDA Post-

Hearing Br. at 13.

12.    Finally, Plaintiff cited to “other circumstances,” consistent with the statute, and including

the U.S. industry’s improved performance and inability to meet demand for raw honey, as well as

the sharp drop in nonsubject imports – all of which supported a negative critical circumstances

determination. NHPDA Pre-Hearing Br., Appendix A at 21-24; NHPDA Post-Hearing Br. at 13.

Moreover, Plaintiff countered claims by the Petitioners that imports of Vietnamese raw honey

justified an affirmative critical circumstances determination. NHPDA Post-Hearing Br. at 13-15.

13.    In its final determination, four Commissioners made an affirmative finding of critical

circumstances with respect to imports of raw honey from Vietnam. See Pub. 5327 at 3; id. at 3,
                                                4
          Case 1:22-cv-00194-N/A Document 11              Filed 08/05/22     Page 5 of 9




n.1. One Commissioner, current Chairman David Johanson, dissented, endorsing many of the

arguments put forth by Plaintiff. Id. at 50-54.

14.      As a consequence of the final affirmative critical circumstances determinations by

Commerce and the Commission, “retroactive duties will be applied to the relevant imports” for an

additional “period of 90 days prior to the suspension of liquidation.” Orders, 87 Fed. Reg. at

35502.

                                   STATEMENT OF CLAIMS

  COUNT 1: THE COMMISSION’S AFFIRMATIVE CRITICAL CIRCUMSTANCES
     DETERMINATION IS NOT SUPPORTED BY SUBSTANTIAL EVIDENCE

15.      Paragraphs 5 through 13 are incorporated by reference.

16.      The Commission’s affirmative critical circumstances determination, involving the finding

that imports of Vietnamese raw honey would “undermine seriously the remedial effect of the

order,” was unsupported by substantial evidence.         Record evidence put forth by Plaintiff

demonstrated that the increase in imports was seasonally consistent, sold off into the U.S. market,

and did not compete with domestically produced honey. Moreover, inventories of Vietnamese

raw honey were not significant in light of their absorption into the large U.S. market for honey.

17.      In particular, “the plain meaning of the term ‘undermine seriously’ establishes a very high

standard: that the surge in imports greatly and insidiously weakens or subverts the effects of the

order.” See Statement of Administrative Action (“SAA”) to the Uruguay Round Agreements Act,

H.R. Rep. No. 103-316, at 877 (1994). This Court has further held that a determination that fails

“to consider or discuss record evidence which supports an alternative conclusion” or “an important

aspect of the problem” is not supported by substantial evidence and the “court will not accept”

such a determination. See Jiaxing Brother Fastener Co. v. United States, 380 F. Supp. 3d 1343,

1360-61 n.26 (Ct. Int’l Trade 2019) (citations omitted); NSK Corp. v. United States, 33 C.I.T.


                                                  5
         Case 1:22-cv-00194-N/A Document 11               Filed 08/05/22     Page 6 of 9




1185, 1190, 637 F. Supp. 2d 1311, (2009) (quoting Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State

Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)).

18.    Consequently, and in light of the record evidence submitted by Plaintiff and the failure of

the majority to substantively consider or discuss the evidence supporting an alternative conclusion,

substantial evidence did not support the conclusion that imports of Vietnamese raw honey would

“undermine seriously” the remedial effect of the order.

  COUNT 2: THE COMMISSION’S AFFIRMATIVE CRITICAL CIRCUMSTANCES
                DETERMINATION IS CONTRARY TO LAW

19.    Paragraphs 5 through 13 are incorporated by reference.

20.    The Commission’s affirmative critical circumstances determination was otherwise not in

accordance with law. The statute explicitly requires the Commission, in making its critical

circumstances determination, to consider “timing and volume of the imports,” any “rapid increase

in inventories of the imports,” and “any other circumstances.” 19 U.S.C. § 1673d(b)(4)(A)(ii).

21.    The Commission’s treatment of these factors, considering the record evidence put forth by

Plaintiff, was contrary to law. This Court has held that, where an agency acts in a manner contrary

to the plain language of the statute, e.g., through an impermissible interpretation of statutory

language or contrary to past practice, then it has acted contrary to law. See Asociación de

Exportadores e Industriales de Aceitunas de Mesa v. United States, 429 F. Supp. 3d 1325, 1341-

42 (Ct. Int’l Trade 2020). Here, The Commission’s refusal to fully consider evidence put forth by

Plaintiff with respect to these statutory factors, and in contradiction to other, previous critical

circumstances findings, renders its affirmative critical circumstances determination contrary to

law.




                                                 6
        Case 1:22-cv-00194-N/A Document 11              Filed 08/05/22     Page 7 of 9




                        PRAYER FOR RELIEF AND JUDGMENT

WHEREFORE, Plaintiff respectfully requests that the Court:

       (A)    Enter judgment in favor of Plaintiff;

       (B)    Hold and declare that the Commission’s affirmative finding of critical
              circumstances regarding imports of raw honey from Vietnam was
              unsupported by substantial evidence and otherwise not in accordance with
              law;

       (C)    Remand this matter to the Commission with instructions to revise its final
              affirmative determination of critical circumstances, and consequently, to
              Commerce to revise the Orders in conformity with the Court’s decision;
              and

       (D)    Grant Plaintiff such additional relief as the Court may deem just and proper.

                                            Respectfully submitted,



                                             /s/ Gregory J. Spak
                                            Gregory J. Spak
                                            Jay C. Campbell
                                            Ron Kendler
                                            C. Alex Dilley

                                            WHITE AND CASE LLP
                                            701 Thirteenth Street, NW
                                            Washington, DC 20005
                                            (202) 626-3600


Date: August 5, 2022




                                                7
         Case 1:22-cv-00194-N/A Document 11             Filed 08/05/22    Page 8 of 9




                               CERTIFICATE OF SERVICE

       I certify that on August 5, 2022, I electronically filed the foregoing Complaint with the
Clerk of the Court using the CM/ECF system, which will send a notification of such filing to the
following counsel of record:


                             Michael Kenneth Haldenstein
                             U.S. International Trade Commission
                             Office of the General Counsel
                             500 E Street, SW.
                             Washington, DC 20436
                             Email: michael.haldenstein@usitc.gov

                             Andrea C. Casson
                             U.S. International Trade Commission
                             Office of the General Counsel
                             500 E Street, SW.
                             Suite 707
                             Washington, DC 20436
                             Email: andrea.casson@usitc.gov




                                                         /s/ Gregory J. Spak
                                                           Gregory J. Spak
         Case 1:22-cv-00194-N/A Document 11             Filed 08/05/22    Page 9 of 9




                           NOTICE TO INTERESTED PARTIES

       I hereby certify that the foregoing submission filed on August 5, 2022 was served on this
5th day of August 2022, via e-mail on the following parties:

Julie C. Mendoza, Esq.
Morris, Manning & Martin, LLP                       Daniel J. Cannistra, Esq.
1401 Eye Street, NW Suite 600                       Crowell & Moring LLP
Washington, DC 20005                                1001 Pennsylvania Ave., N.W.
jmendoza@mmmlaw.com                                 Washington, D.C. 20004-2595
tradeservice@mmmlaw.com                             dcannistra@crowell.com
                                                    intltrade@crowell.com
Minister Pablo Rodriguez Brizuela
Embassy of the Republic of Argentina                Richard Ferrin
1600 New Hampshire Ave, NW                          Faegre Drinker Biddle Reath LLP
Washington,                                         1500 K Street, NW
DC 20009                                            Washington, D.C. 20005
eeeuu@mrecic.gov.ar                                 Richard.ferrin@faegredrinker.com

Aluisio Gomien de Lima Carmpos,                     Jeffrey S. Neeley
Economic Advisor Embassy of Brazil                  Husch Blackwell
3006 Massachusetts Avenue, N.W.                     750 17th Street, NW Suite 900
Washington, DC 20008                                Washington, DC 20006
Aluisio.Campos@itamaraty.gov.br                     jeffrey.neeley@huschblackwell.com

R. Alan Luberda, Esq.                               Gregory Husisian
Kelley Drye & Warren LLP                            Foley & Lardner LLP
Washington Harbour Suite 400                        3000 K Street NW
3050 K Street, NW                                   Washington, DC 20007
Washington, DC 20007                                August 4, 2022
aluberda@kelleydrye.com                             ghusisian@foley.com
tradenotifications@kelleydrye.com                   jcscott@foley.com


                                                         /s/ Gregory J. Spak
                                                           Gregory J. Spak
